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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


 S.R.,
                                                      23-cv-06385-VC
                 Plaintiff,

          v.                                          JUDGMENT

 O’MALLEY, et al.,
                 Defendant.



         Judgment is entered in accordance with the order remanding this case. See Dkt. No. [25].
The Clerk of Court is directed to close the case.
         IT IS SO ORDERED.

Dated: August 19, 2024

                                                    ______________________________________
                                                    VINCE CHHABRIA
                                                    United States District Judge
